Case 8:21-cv-00070-DOC-KES Document 37 Filed 11/09/21 Page 1 of 1 Page ID #:111




                        UNITED STATES DISTRICT COURT                         JS-6
                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES – GENERAL

 Case No: SA CV 21-00070-DOC (KESx)                Date: November 9, 2021

 Title: Luis Marquis v Yu Chu Lui, et al


 PRESENT: THE HONORABLE DAVID O. CARTER, JUDGE

              Deborah Lewman                              Not Present
              Courtroom Clerk                            Court Reporter

       ATTORNEYS PRESENT FOR                     ATTORNEYS PRESENT FOR
             PLAINTIFF:                               DEFENDANT:
            None Present                               None Present



       PROCEEDINGS (IN CHAMBERS): ORDER DISMISSING CIVIL
                                              CASE

        The Court, having been notified by counsel for the parties that this action
 has been settled re Notice of Settlement [36], hereby orders this action
 DISMISSED without prejudice. The Court hereby orders ALL proceedings in the
 case VACATED and taken off calendar. The Court retains jurisdiction for thirty
 (30) days to vacate this order and reopen the action upon showing of good cause
 that the settlement has not been consummated.

       The Clerk shall serve this minute order on the parties.




  MINUTES FORM 11
  CIVIL-GEN                                                      Initials of Deputy Clerk: djl
